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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                            Case No: 2:15-cr-101-FtM-99CM

DIOSME FERNANDEZ HANO
___________________________________/
                                                    ORDER1
        This matter comes before the Court on Defendant Diosme Fernandez Hano’s

Motion to Dismiss the Superseding Indictment dated May 31, 2016. (Doc. #94). The

Government filed its response on June 6, 2016. (Doc. #99). This matter is ripe for review.

                                               BACKGROUND

        On November 30, 2009, two Hispanic males robbed an armored vehicle by

gunpoint in a bank parking lot in Fort Myers, Florida, taking approximately $1.7 million.

(Doc. #99 at 1). The Lee County Sherriff’s Office (LCSO) did not immediately apprehend

the individuals responsible, but was able to collect evidence from the scene. (Id. at 2).

There, a ski mask and gun grip were located and sent for examination to the Florida

Department of Law Enforcement (FDLE).                             (Id. at 2-3).         FDLE conducted a

deoxyribonucleic acid (DNA) profile of the evidence. (Id. at 3). Years later, after the

execution of a search warrant, Federal Bureau of Investigation (FBI) agents located



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Defendant Hano and swabbed his mouth with buccal swabs. (Id.). FDLE received the

swabs, and a Crime Laboratory Analyst created a profile and compared Defendant

Hano’s DNA to a separate profile created from the ski mask. (Id.). Results confirmed

that the DNA taken from the ski mask matched that of Defendant Hano. (Id.).

       Consequently, on August 5, 2015, a federal grand jury returned an indictment

(Doc. #7) against Defendant Hano.        On March 16, 2016, a grand jury returned a

superseding indictment (Doc. #49) against Defendant Hano and Defendant Reinaldo

Arrastia-Cardoso.

                                STANDARD OF REVIEW

       An “indictment . . . must be a plain, concise, and definite written statement of the

essential facts constituting the offense charged and must be signed by an attorney for the

government.” Fed. R. Crim. P. 7(c)(1). “An indictment is sufficient if it: (1) presents the

essential elements of the charged offense, (2) notifies the accused of the charges to be

defended against, and (3) enables the accused to rely upon a judgment under the

indictment as a bar against double jeopardy for any subsequent prosecution for the same

offense.” U.S. v. Steele, 178 F.3d 1230, 1233-34 (11th Cir. 1999) (internal citation

omitted). A “district court [must] “dismiss an indictment if the indictment fails to allege

facts which constitute a prosecutable offense.” U.S. v. Coia, 719 F.2d 1120, 1123 (11th

Cir. 1983). “Denials of motions to dismiss the indictment are reviewed for abuse of

discretion, but underlying legal errors … are reviewed de novo.” U.S. v. Robison, 505

F.3d 1208, 1225 n. 24 (11th Cir. 2007) (citation omitted).




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                                              DISCUSSION

        Defendant Hano argues that the superseding indictment should be dismissed for

two reasons: (1) the superseding indictment is invalid because it falls outside the five-

year statute of limitations pursuant to 18 U.S.C. § 3282(a); and (2) the Government failed

to expressly set forth an exception to the § 3282(a) limitation period in the indictment.

(Doc. #94 at ¶ 6). In response, the Government contends: (1) 18 U.S.C. § 3297 provides

an exception to the limitation period set forth in § 3282(a) if an individual is later implicated

by DNA testing; and (2) a statute of limitations defense is an affirmative defense, which

the Government need not anticipate in an indictment.2 The Court will address each

argument in turn.

        A. 18 U.S.C. § 3297

        Defendant Hano first argues that the indictment and superseding indictment must

be dismissed because they are outside the five-year statute of limitation period provided

under 18 U.S.C. § 3282(a). The Government disagrees. It asserts that the indictment

and superseding indictment are within the § 3282(a) limitation period because the FDLE

lab report did not implicate Defendant Hano until June 26, 2015. (Doc. #99 at 5). The

Court agrees with the Government.

          Section 3297 provides an exception to criminal statute of limitation periods,

including those found in § 3282(a), when DNA testing implicates a defendant:

                 In a case in which DNA testing implicates an identified person
                 in the commission of a felony, no statute of limitations that
                 would otherwise preclude prosecution of the offense shall
                 preclude such prosecution until a period of time following the


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 The Government also contends that raising a statute of limitations defense in a pre-trial motion under Fed. R.
Crim. P. 12(b)(3)(A) has recently been called into question. The Court need not address this issue today,
however.

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              implication of the person by DNA testing has elapsed that is
              equal to the otherwise applicable limitation period.

18 U.S.C. § 3297. In applying § 3297 to an indictment, the Court finds U.S. v. Moore, No.

15-20552, 2016 WL 2591874, at *1 (E.D. Mich. May 5, 2016), illustrative. In Moore, the

defendant filed a motion to dismiss his indictment because over a ten-year period passed

between the date of the offenses and the date of the charges. Id. at *2. The court denied

the defendant’s motion, finding that § 3297 provides “an exception to the general

limitations period based on the distinctive reliability of DNA testing.” Id; see also U.S. v.

Kiel, Nos. 1:13CR51-LG-RHW-2, 1:14-CR1-LG-JMR-2, 2014 WL 2710955, at * 2 (S.D.

Miss. June 16, 2014).

       Turning to this action, the subject offense occurred over six years prior to the date

of the superseding indictment. But this time period is not fatal to the indictment. To be

sure, DNA testing did not implicate Defendant Hano until June 26, 2015, which means

that the limitation period under § 3282(a) did not begin to run until this date. Accordingly,

both the indictment and superseding indictment are well within the five-year limit. (Doc.

#99 at 5).

       B. STATUTE OF LIMITATIONS AS AN AFFIRMATIVE DEFENSE

       Defendant Hano further argues that the indictment is invalid because it did not

expressly state an exception to the limitations period. (Doc. #94 at 3). In response, the

Government argues that a statute of limitations defense is an affirmative defense, and the

Government need not anticipate an affirmative defense in an indictment. (Doc. #99 at 10-

11). The Court agrees with the Government.

       A statute of limitations defense “does not divest a district court of subject matter

jurisdiction, but rather constitutes an affirmative defense, which the defendant can waive.”

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U.S. v. Najjar, 283 F.3d 1306, 1309 (11th Cir. 2002) (citation omitted). When addressing

such defenses, the Supreme Court has held that it is unnecessary, for sufficiency

purposes, that the Government anticipate affirmative defenses in an indictment. U.S. v.

Sissons, 399 U.S. 267, 288 (1970).

      Although the Eleventh Circuit has not addressed a factually similar case, the

Government cites to U.S. v. Titterington, 374 F.3d 453, 457 (6th Cir. 2004), which the

Court finds illustrative here.   In Titterington, 17 defendants received an 89-count

indictment. Id. at 455. In response, the “[d]efendants moved to dismiss the indictment,

arguing that an indictment must allege that an offense occurred within the applicable

statute-of-limitations period.” Id. The court held “that the statute of limitations is an

affirmative defense that the Government need not specifically plead in a criminal

indictment.” Id. at 454. The court reasoned that such a defense “does not impose a

pleading requirement on the Government, but merely creates an affirmative defense for

the accused.” Id. at 457.

      Here, it is clear that the § 3282(a) limitations period is an affirmative defense. As

such, the Government was not required to include this defense in the indictment or

superseding indictment. Therefore, Defendant’s argument fails.

   Accordingly, it is now

   ORDERED:

      Defendant Diosme Fernandez Hano’s Motion to Dismiss the Superseding

   Indictment (Doc. #94) is DENIED.




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   DONE and ORDERED in Fort Myers, Florida, this day of 20th day of July, 2016.




Copies: All Parties of Record




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